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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
9                     IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,       ) Case No. 3:15-MJ-0024 CMK
                                     )
13           Plaintiff,              )
                                     ) STIPULATION AND ORDER
14                   v.              ) RESCHEDULING DETENTION HEARING
                                     )
15   JUAN CARLOS MONTALBO,           )
                                     ) Date:   December 14, 2015
16           Defendant.              ) Time:   2:00 p.m.
                                     ) Judge: Hon. Allison Claire
17                                   )

18
19
20
21       It is hereby stipulated and agreed between plaintiff,

22   United States of America, and defendant, Juan Carlos Montalbo,

23   that the detention hearing scheduled for December 14, 2015, may

24   be continued to December 16, 2015, at 2:00 p.m., before the duty

25   magistrate judge.

26   /////

27   /////
28   /////

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1        Defense counsel discovered a scheduling conflict after he

2    asked to set the hearing Monday.         The parties and pretrial are

3    all available for a hearing Wednesday December 16 at 2:00 p.m.

4
5                                     Respectfully Submitted,

6                                     HEATHER E. WILLIAMS
                                      Federal Defender
7
8    Dated:   December 10, 2015       /s/ T. Zindel__________________
                                      TIMOTHY ZINDEL
9                                     Assistant Federal Defender
                                      Attorney for JUAN MONTALBO
10
11                                    BENJAMIN WAGNER
                                      United States Attorney
12
13   Dated:   December 10, 2015       /s/ T. Zindel for M. Morris
                                      MATTHEW MORRIS
14                                    Assistant U.S. Attorney

15
16                                  O R D E R

17       The detention hearing is rescheduled for December 16, 2015,

18   at 2:00 p.m., before the duty magistrate judge.

19       IT IS SO ORDERED.

20
     Dated:   December 11, 2015
21                                       _____________________________________
                                         CAROLYN K. DELANEY
22                                       UNITED STATES MAGISTRATE JUDGE
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